      Case 6:23-cv-06057-DGL-MJP Document 31 Filed 01/19/24 Page 1 of 2

                                                  U.S. Department of Justice
                                                  United States Attorney
                                                  Western District of New York

                                                  Federal Center                             716/843-5700
                                                  138 Delaware Avenue                    fax 716/551-3052
                                                  Buffalo, New York 14202
                                                                               Writer=s Extension: 851

                                                                            michael.cerrone@usdoj.gov

                                                  January 19, 2024

VIA E-FILING

Hon. Mark W. Pedersen
United States Magistrate Judge
U.S. District Court – W.D.N.Y.
100 State Street
Rochester, New York 14614

       Re:    Shenea James, as administrator of the estate of Dedrick James, deceased
              v. United States of America, et al.
              23-CV-6057

Dear Judge Pedersen:

       This letter request is made in support of the Government’s motion for an order
extending the deadlines contained in this Court’s Case Management Order by 120 days to
allow the parties an opportunity to complete all necessary discovery. This motion is on
consent of all parties.

      This action was commenced in state court on December 14, 2022. Dkt. # 1, Exh. 1.
The Government removed the case to this Court on January 20, 2023. Dkt. # 1. The
Government moved to partially dismiss the Complaint on January 27, 2023. Dkt. # 3. In
response to the motion to dismiss, Plaintiff filed an amended complaint on February 7, 2023.
Dkt. # 6. On February 9, 2023, the Government moved to partially dismiss the Amended
Complaint. Dkt. 7.

        On May 2, 2023, the Court issued a Case Management Order which, among other
things, set the deadline for motions to compel as January 19, 2024 and the deadline for fact
discovery as January 31, 2024. See Dkt. # 20.

       The Government’s motion to partially dismiss the Amended Complaint was granted
on May 11, 2023. Dkt. # 21. In the Decision and Order, the Court ordered the substitution
of the Government as defendant in place of individual defendants Smith, Baker, Devinney,
and Ulatowski and ordered all claims against them dismissed. The Court also dismissed the
fourth (negligent planning), ninth (negligent planning), and thirteenth (failure to intervene)
causes of action against the Government. The claims that remain against the Government
are the third (assault and battery), fifth (negligence), tenth (wrongful death), eleventh
      Case 6:23-cv-06057-DGL-MJP Document 31 Filed 01/19/24 Page 2 of 2

(negligence), and twelfth (assault and battery) causes of action. Dkt. # 21.             The
Government answered the Amended Complaint on June 5, 2023. Dkt. # 25.

        On July 10, 2023, the Court dismissed all claims asserted against Monroe County
Sheriff Todd Baxter. Dkt. # 29. Accordingly, the only defendants remaining in the case are
the Government, the City of Rochester, and Rochester Police Department Officer Richard
Arrowood.

        Since May 2023, the parties have engaged in significant written discovery including
interrogatory practice and the exchange of hundreds of pages of documents. The parties
have not yet taken depositions because we are negotiating the terms of a protective order
which is a precondition to the exchange of certain law enforcement sensitive documents and
it does not make sense to take depositions until all relevant documents have been exchanged.
I can report that the parties are very close to agreeing on the form of a protective order and
anticipate submitting it to the Court for review and approval next week. Once the protective
order is in place, the parties can complete the exchange of documents and engage in
deposition practice. Accordingly, the Government requests an extension of the deadlines
contained in this Court’s Case Management Order by a period of 120 days including an
extension of discovery to May 31, 2024. This is the first request for an extension of the Case
Management Order from any party. All counsel are in agreement with the extension request
made in this motion.

                                                  Very truly yours,

                                                  TRINI E. ROSS
                                                  United States Attorney

                                                  s/Michael S. Cerrone

                                           BY:    MICHAEL S. CERRONE
                                                  Assistant U.S. Attorney
MSC/dec

cc: via e-filing:
Elliot Shields, Esq.
John Campolieto, Esq.




                                              2
